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 9
                                IN THE UNITED STATES DISTRICT COURT
10                                  FOR THE DISTRICT OF ARIZONA

11
     United States of America,                          NO. CR-18-00422-PHX-SMB
12
                              Plaintiff,                MOTION FOR LEAVE FOR COUNSEL
13
     vs.                                                TO APPEAR BY PHONE OR
14                                                      VIDEOCONFERENCING AT
     Michael Lacey, et al.,                             NOVEMBER 2, 2022 STATUS
15                                                      CONFERENCE
                         Defendants.
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             NOW COMES the Defendant, Michael Lacey, by his attorney of record, to ask the Court
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     to grant leave for his lawyer to appear by phone or videoconferencing at the November 2, 2022
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     Status Conference as in this matter. As good cause therefore, the Defendant submits the following:
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             Mr. Lacey’s attorney has pre-existing in-person hearings in the Erie County, New York
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     Supreme Court for November 3, 4, and 15, 2022. It is not possible to travel to and from the District
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     of Arizona for the November 2, 2022 Status Conference, and also properly prepare for, and attend
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     the all-day hearings scheduled to begin in Erie County, New York on November 3, 2022.
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 1           Additionally, counsel is scheduled to begin a murder trial on December 8, 2022, and must
 2   prepare for that trial, including interviewing and preparing witnesses, and other pretrial matters that
 3   must be done in person, in Buffalo, New York.
 4           Finally, because the government has seized the majority of Mr. Lacey’s assets, and the limited
 5   pool of assets available for trial costs was substantially depleted during the first trial in this case, assets
 6   necessary for travel and accomodations are in short supply and need to be preserved for the
 7   upcoming trial.
 8           The Government does not object to this Motion.
 9           The Court will find attached a proposed Order.
10           RESPECTFULLY SUBMITTED this 21st day of October, 2022,
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                                               Paul J. Cambria, Jr.
12
                                               LIPSITZ GREEN SCIME CAMBRIA LLP
13
                                               By:      /s/ Paul J. Cambria, Jr.
14                                                      Paul J. Cambria, Jr.
15                                                      Attorneys for Michael Lacey

16   On October 21, 2022, a PDF version
17
     of this document was filed with
     Clerk of the Court using the CM/ECF
18   System for filing and for Transmittal
19   Of a Notice of Electronic Filing to the
     Following CM/ECF registrants:
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